                                                                                                                                                                            Case 3:20-cv-04869-WHA Document 75-2 Filed 09/04/20 Page 1 of 13



                                                                                                                                                                        1   TROUTMAN PEPPER HAMILTON
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                                                                                                                                                                                                                                  for Proposed Intervenor
                                                                                                                                                                       10                                              National Hydropower Association
                             S AN DERS LLP
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                                                                                                                                                                                                    UNITED STATES DISTRICT COURT
                    AM ILTON SANDERS




                                                                                                                                                                       11
                                                                                                           S A N F R A N C I S C O , C A L I F O R N I A 94 111-4057
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                                                                                                                                                                                                  NORTHERN DISTRICT OF CALIFORNIA
                                                                                                                                                                       12                              SAN FRANCISCO DIVISION
                  HAMILTON




                                                                                                                                                                       13    STATE OF CALIFORNIA, BY AND                  Case No. 3:20-CV-04869-WHA
                                                                                                                                                                             THROUGH ATTORNEY GENERAL XAVIER              Related Case No. 3:20-CV-04636-WHA
            EPPER H
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                                                                                                                                                                       14    BECERRA AND THE STATE WATER
                                                                                                                                                                             RESOURCES CONTROL BOARD, STATE OF            INTERVENOR NATIONAL
T ROUTMAN P




                                                                                                                                                                                                                                        ASSOCIATION’S
                                                                                                                                                                                                                          HYDROPOWER ASSOCIATION'S
TROUTMAN




                                                                                                                                                                       15    WASHINGTON, STATE OF NEW YORK,
                                                                                                                                                                             STATE OF COLORADO, STATE OF                  PROPOSED ANSWER TO
                                                                                                                                                                       16    CONNECTICUT, STATE OF ILLINOIS,              PLAINTIFFS’ COMPLAINT
                                                                                                                                                                                                                          PLAINTIFFS'
                                                                                                                                                                             STATE OF MAINE, STATE OF MARYLAND,
                                                                                                                                                                       17    COMMONWEALTH OF MASSACHUSETTS,
                                                                                                                                                                             STATE OF MICHIGAN, STATE OF
                                                                                                                                                                       18    MINNESOTA, STATE OF NEVADA, STATE
                                                                                                                                                                             OF NEW JERSEY, STATE OF NEW
                                                                                                                                                                       19    MEXICO, STATE OF NORTH CAROLINA,
                                                                                                                                                                             STATE OF OREGON, STATE OF RHODE
                                                                                                                                                                       20    ISLAND, STATE OF VERMONT,
                                                                                                                                                                             COMMONWEALTH OF VIRGINIA, STATE
                                                                                                                                                                       21    OF WISCONSIN, AND THE DISTRICT OF
                                                                                                                                                                             COLUMBIA,
                                                                                                                                                                             COLUMBIA,
                                                                                                                                                                       22                    Plaintiffs,
                                                                                                                                                                       23          v.
                                                                                                                                                                       24    ANDREW R. WHEELER, IN HIS OFFICIAL
                                                                                                                                                                             CAPACITY AS ADMINISTRATOR OF THE
                                                                                                                                                                       25    UNITED STATES ENVIRONMENTAL
                                                                                                                                                                             PROTECTION AGENCY, AND THE UNITED
                                                                                                                                                                       26    STATES ENVIRONMENTAL PROTECTION
                                                                                                                                                                             AGENCY,
                                                                                                                                                                             AGENCY,
                                                                                                                                                                       27
                                                                                                                                                                                             Defendants.
                                                                                                                                                                       28
                                                                                                                                                                                                                                            Case No. 3:20-CV-04869-WHA
                                                                                                                                                                                                            INTERVENOR NHA'S
                                                                                                                                                                                                                       NHA’S ANSWER
                                                                                                                                                                            Case 3:20-cv-04869-WHA Document 75-2 Filed 09/04/20 Page 2 of 13



                                                                                                                                                                        1          Intervenor National Hydropower Association ("NHA"),
                                                                                                                                                                                                                              (“NHA”), by and through its Counsel,

                                                                                                                                                                        2   Troutman Pepper Hamilton Sanders LLP, makes this Answer to Plaintiffs'
                                                                                                                                                                                                                                       Plaintiffs’ Complaint in the

                                                                                                                                                                        3   above-captioned case. Furthermore, under Federal Rule of Civil Procedure 8(b), NHA denies

                                                                                                                                                                       4    each and every allegation and heading contained in Plaintiffs'
                                                                                                                                                                                                                               Plaintiffs’ Complaint except for those

                                                                                                                                                                        5   expressly admitted herein.

                                                                                                                                                                        6                                           INTRODUCTION

                                                                                                                                                                        7          1.1     Admitted that this lawsuit challenges a final rule issued by Defendants—Andrew

                                                                                                                                                                        8   R. Wheeler, in his official capacity as Administrator of the United States Environmental

                                                                                                                                                                        9   Protection Agency, and the United States Environmental Protection Agency ("EPA")—entitled
                                                                                                                                                                                                                                                     (“EPA”)—entitled

                                                                                                                                                                       10   “Clean Water Act Section 401 Certification Rule,"
                                                                                                                                                                            "Clean                                     Rule,” 85 Fed. Reg. 42,210 (July 13, 2020) ("Rule").
                                                                                                                                                                                                                                                                  (“Rule”).
                             S AN DERS LLP
                    AM ILTON SANDERS   LLP




                                                                                                                                                                       11   NHA otherwise denies the allegations in this paragraph.
                                                                                                           S A N F R A N C I S C O , C A L I F O R N I A 94 111-4057
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                                                                                                                                                                       12          1.2     This paragraph cites and quotes federal statutes, which speak for themselves. To
                  HAMILTON




                                                                                                                                                                       13   the extent this paragraph asserts factual allegations, NHA denies them.
            EPPER H
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                                                                                                                                                                       14          1.3     This paragraph cites and quotes federal statutes, which speak for themselves.
T ROUTMAN P
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                                                                                                                                                                       15   NHA lacks sufficient knowledge or information to form a belief about the truth of the allegation

                                                                                                                                                                       16   that "State
                                                                                                                                                                                 “State standards, including those of the Plaintiff States, may be and frequently are more

                                                                                                                                                                       17   protective,” and therefore denies it. NHA otherwise denies the allegations in this paragraph.
                                                                                                                                                                            protective,"

                                                                                                                                                                       18          1.4     This paragraph cites and quotes a federal statute, which speaks for itself. To the

                                                                                                                                                                       19   extent this paragraph asserts factual allegations, NHA denies them.

                                                                                                                                                                       20          1.5     This paragraph cites and quotes a federal statute, which speaks for itself. To the

                                                                                                                                                                       21   extent this paragraph asserts factual allegations, NHA denies them.

                                                                                                                                                                       22          1.6     This paragraph vaguely refers to EPA actions and court decisions not cited or

                                                                                                                                                                       23   referenced therein. Accordingly, NHA lacks knowledge or information sufficient to form a belief

                                                                                                                                                                       24   about the truth of the allegations in this paragraph, and therefore denies them.

                                                                                                                                                                       25          1.7     The text of Executive Order 13,868, which President Trump issued on April 10,

                                                                                                                                                                       26   2019, speaks for itself.

                                                                                                                                                                       27          1.8     Denied.

                                                                                                                                                                       28          1.9     This paragraph cites and quotes the Supreme Court's
                                                                                                                                                                                                                                       Court’s opinion in PUD No. 1 of
                                                                                                                                                                                                                                                                    of
                                                                                                                                                                                                                              -2-                     Case No. 3:20-CV-04869-WHA
                                                                                                                                                                                                                INTERVENOR NHA'S
                                                                                                                                                                                                                           NHA’S ANSWER
                                                                                                                                                                            Case 3:20-cv-04869-WHA Document 75-2 Filed 09/04/20 Page 3 of 13



                                                                                                                                                                        1   Jefferson County v. Wash.
                                                                                                                                                                                                Wash. Department of
                                                                                                                                                                                                                 of Ecology, 511 U.S. 700 (1994), which speaks for itself.

                                                                                                                                                                        2   This paragraph also references a federal statute, other Supreme Court precedent, and EPA

                                                                                                                                                                        3   interpretations of federal law, all of which speak for themselves. This paragraph states legal

                                                                                                                                                                       4    conclusions, which require no response. To the extent any response is required, NHA denies the

                                                                                                                                                                        5   allegations.

                                                                                                                                                                        6          1.10    This paragraph cites and quotes a federal statute and the Supreme Court's
                                                                                                                                                                                                                                                             Court’s opinion

                                                                                                                                                                        7   in PUD No. 1, which speak for themselves. NHA otherwise denies the allegations in this

                                                                                                                                                                        8   paragraph.

                                                                                                                                                                        9          1.11    This paragraph states legal conclusions to which no response is required. To the

                                                                                                                                                                       10   extent any response is required, NHA denies the allegations.
                             S AN DERS LLP
                    AM ILTON SANDERS   LLP




                                                                                                                                                                       11          1.12    This paragraph cites and quotes the Rule and the Supreme Court's
                                                                                                                                                                                                                                                    Court’s opinion in S.D.
                                                                                                           S A N F R A N C I S C O , C A L I F O R N I A 94 111-4057
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                                                                                                                                                                       12   Warren
                                                                                                                                                                            Warren Co. v. Maine Board of
                                                                                                                                                                                                      of Environmental Protection, 547 U.S. 370 (2006), which speak for
                  HAMILTON




                                                                                                                                                                       13   themselves. This paragraph states legal conclusions to which no response is required. To the
            EPPER H
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                                                                                                                                                                       14   extent any response is required, NHA denies the allegations.
T ROUTMAN P
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                                                                                                                                                                       15          1.13    Denied.

                                                                                                                                                                       16          1.14    Admitted that Plaintiffs seek a declaration that the Rule violates the Clean Water

                                                                                                                                                                       17   Act and the Administrative Procedure Act, 5 U.S.C. § 551, et seq. ("APA").
                                                                                                                                                                                                                                              (“APA”). NHA otherwise

                                                                                                                                                                       18   denies the allegations.

                                                                                                                                                                       19                                    JURISDICTION AND VENUE

                                                                                                                                                                       20          2.1     Admitted.

                                                                                                                                                                       21          2.2     Admitted.

                                                                                                                                                                       22          2.3     Admitted.

                                                                                                                                                                       23          2.4     Admitted.

                                                                                                                                                                       24                                  INTRADISTRICT ASSIGNMENT

                                                                                                                                                                       25          3.1     Admitted.

                                                                                                                                                                       26                                                PARTIES

                                                                                                                                                                       27          4.1     Admitted that Plaintiffs are sovereign states of the United States of America.

                                                                                                                                                                       28   Admitted that Plaintiffs claim to bring this action in their sovereign and proprietary capacities.
                                                                                                                                                                                                                              -3-                     Case No. 3:20-CV-04869-WHA
                                                                                                                                                                                                                INTERVENOR NHA'S
                                                                                                                                                                                                                           NHA’S ANSWER
                                                                                                                                                                            Case 3:20-cv-04869-WHA Document 75-2 Filed 09/04/20 Page 4 of 13



                                                                                                                                                                        1   Admitted that Plaintiffs purport to bring this action as parens
                                                                                                                                                                                                                                     parens patriae
                                                                                                                                                                                                                                            patriae on behalf of their citizens

                                                                                                                                                                        2   and residents, but denied that they have any standing to do so in an action against the federal

                                                                                                                                                                        3   government. See Alfred L. Snapp & Son, Inc. v. Puerto Rico ex rel. Barez, 458 U.S. 592, 610

                                                                                                                                                                       4    n.16 (1982). NHA otherwise denies the allegations.

                                                                                                                                                                        5          4.2     Admitted.

                                                                                                                                                                        6          4.3     Admitted.

                                                                                                                                                                        7                       STATUTORY AND REGULATORY BACKGROUND
                                                                                                                                                                        8                                   The Administrative Procedure Act

                                                                                                                                                                        9          5.1     This paragraph states legal conclusions to which no response is required. To the

                                                                                                                                                                       10   extent any response is required, NHA denies the allegations.
                             S AN DERS LLP
                    AM ILTON SANDERS   LLP




                                                                                                                                                                       11          5.2     This paragraph cites and quotes a federal statute, which speaks for itself. This
                                                                                                           S A N F R A N C I S C O , C A L I F O R N I A 94 111-4057
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                                                                                                                                                                       12   paragraph also states legal conclusions to which no response is required. To the extent any
                  HAMILTON




                                                                                                                                                                       13   response is required, NHA denies the allegations.
            EPPER H
          PEPPER




                                                                                                                                                                       14          5.3     This paragraph cites and quotes a federal statute, which speaks for itself. This
T ROUTMAN P
TROUTMAN




                                                                                                                                                                       15   paragraph also states legal conclusions to which no response is required. To the extent any

                                                                                                                                                                       16   response is required, NHA denies the allegations.

                                                                                                                                                                       17          5.4     This paragraph cites a federal statute and the Supreme Court's
                                                                                                                                                                                                                                                  Court’s opinions in

                                                                                                                                                                       18              of Homeland Security v. Regents of
                                                                                                                                                                            Department of                              of the University of
                                                                                                                                                                                                                                         of California, 140 S. Ct. 1891

                                                                                                                                                                       19   (2020), Motor Vehicle                           of the United States, Inc. v. State Farm Mutual
                                                                                                                                                                                          Vehicle Manufacturers Association of

                                                                                                                                                                       20   Automobile Insurance Co., 463 U.S. 29 (1983), and Chevron U.S.A., Inc. v. Natural Resources

                                                                                                                                                                       21   Defense Council, Inc., 467 U.S. 837 (1984), which speak for themselves. This paragraph also

                                                                                                                                                                       22   states legal conclusions to which no response is required. To the extent any response is required,

                                                                                                                                                                       23   NHA denies the allegations.

                                                                                                                                                                       24          5.5     This paragraph cites and quotes a federal statute, which speaks for itself.

                                                                                                                                                                       25                                          The Clean Water Act

                                                                                                                                                                       26          5.6     This paragraph cites and quotes a federal statute, which speaks for itself.

                                                                                                                                                                       27          5.7     This paragraph cites and quotes a federal statute and the Fourth Circuit's
                                                                                                                                                                                                                                                            Circuit’s opinion

                                                                                                                                                                       28
                                                                                                                                                                                                                              -4-                     Case No. 3:20-CV-04869-WHA
                                                                                                                                                                                                                INTERVENOR NHA'S
                                                                                                                                                                                                                           NHA’S ANSWER
                                                                                                                                                                            Case 3:20-cv-04869-WHA Document 75-2 Filed 09/04/20 Page 5 of 13



                                                                                                                                                                        1   in United States v. Cooper, 482 F.3d 658 (4th Cir. 2007), which speak for themselves. This

                                                                                                                                                                        2   paragraph also states legal conclusions to which no response is required. To the extent any

                                                                                                                                                                        3   response is required, NHA denies the allegations.

                                                                                                                                                                       4           5.8     This paragraph cites a federal statute, which speaks for itself. This paragraph also

                                                                                                                                                                        5   states legal conclusions to which no response is required. To the extent any response is required,

                                                                                                                                                                        6   NHA denies the allegations.

                                                                                                                                                                        7          5.9     This paragraph cites and quotes a federal statute, which speaks for itself.

                                                                                                                                                                        8          5.10    This paragraph cites and quotes a federal statute, which speaks for itself.

                                                                                                                                                                        9          5.11    This paragraph cites and quotes legislative history, which speaks for itself. This

                                                                                                                                                                       10   paragraph also states legal conclusions to which no response is required. To the extent any
                             S AN DERS LLP
                    AM ILTON SANDERS   LLP




                                                                                                                                                                       11   response is required, NHA denies the allegations.
                                                                                                           S A N F R A N C I S C O , C A L I F O R N I A 94 111-4057
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                                                                                                                                                                       12          5.12    This paragraph cites and quotes a federal statute, the Supreme Court's
                                                                                                                                                                                                                                                          Court’s opinions in
                  HAMILTON




                                                                                                                                                                       13   PUD No. 1 and S.D. Warren
                                                                                                                                                                                               Warren Co., and the D.C. Circuit's
                                                                                                                                                                                                                        Circuit’s opinion in Keating v. FERC, 927 F.2d
            EPPER H
          PEPPER




                                                                                                                                                                       14   616 (D.C. Cir. 1991), which speak for themselves. This paragraph also states legal conclusions to
T ROUTMAN P
TROUTMAN




                                                                                                                                                                       15   which no response is required. To the extent any response is required, NHA denies the

                                                                                                                                                                       16   allegations.

                                                                                                                                                                       17          5.13    This paragraph cites and quotes a federal statute, which speaks for itself.

                                                                                                                                                                       18          5.14    Admitted that Congress has not amended the language of Section 401 since 1994.

                                                                                                                                                                       19                    EPA’s Longstanding Section 401 Regulations And Guidance
                                                                                                                                                                                             EPA's

                                                                                                                                                                       20          5.15    This paragraph cites and quotes federal regulations and legislative history, which

                                                                                                                                                                       21   speak for themselves. NHA otherwise denies the allegations in this paragraph.

                                                                                                                                                                       22          5.16    This paragraph cites and quotes a federal statute and federal regulation, which

                                                                                                                                                                       23   speak for themselves. NHA otherwise denies the allegations in this paragraph.

                                                                                                                                                                       24          5.17    This paragraph vaguely refers to regulatory history not cited or referenced therein.

                                                                                                                                                                       25   Accordingly, NHA lacks knowledge or information sufficient to form a belief about the truth of

                                                                                                                                                                       26   the allegations in this paragraph, and therefore denies them. In any event, such regulatory history

                                                                                                                                                                       27   would speak for itself.

                                                                                                                                                                       28          5.18    This paragraph vaguely refers to regulatory history not cited or referenced therein.
                                                                                                                                                                                                                             -5-                     Case No. 3:20-CV-04869-WHA
                                                                                                                                                                                                                INTERVENOR NHA'S
                                                                                                                                                                                                                           NHA’S ANSWER
                                                                                                                                                                            Case 3:20-cv-04869-WHA Document 75-2 Filed 09/04/20 Page 6 of 13



                                                                                                                                                                        1   Accordingly, NHA lacks knowledge or information sufficient to form a belief about the truth of

                                                                                                                                                                        2   the allegations in this paragraph, and therefore denies them. In any event, such regulatory history

                                                                                                                                                                        3   would speak for itself.

                                                                                                                                                                       4           5.19    Denied.

                                                                                                                                                                        5          5.20    This paragraph cites and quotes federal regulations, which speak for themselves.

                                                                                                                                                                        6   NHA otherwise denies the allegations in this paragraph.

                                                                                                                                                                        7          5.21    This paragraph cites and quotes a federal regulation, which speaks for itself. NHA

                                                                                                                                                                        8   otherwise denies the allegations in this paragraph.

                                                                                                                                                                        9          5.22    Admitted that, in 1989, Katherine Ransel of the Environmental Law Institute and

                                                                                                                                                                       10   Dianne Fish of EPA’s
                                                                                                                                                                                           EPA's Office of Wetlands Protection, Wetlands Strategies, and State Programs
                             S AN DERS LLP
                    AM ILTON SANDERS   LLP




                                                                                                                                                                       11   Division drafted a guidance document called "Wetlands
                                                                                                                                                                                                                        “Wetlands and 401 Certification Opportunities and
                                                                                                           S A N F R A N C I S C O , C A L I F O R N I A 94 111-4057
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                                                                                                                                                                       12   Guidelines for States and Eligible Indian Tribes"
                                                                                                                                                                                                                      Tribes” ("1989
                                                                                                                                                                                                                              (“1989 Guidance").
                                                                                                                                                                                                                                     Guidance”). NHA otherwise denies the
                  HAMILTON




                                                                                                                                                                       13   allegations in this paragraph.
            EPPER H
          PEPPER




                                                                                                                                                                       14          5.23    This paragraph cites and quotes the 1989 Guidance, which speaks for itself. NHA
T ROUTMAN P
TROUTMAN




                                                                                                                                                                       15   otherwise denies the allegations in this paragraph.

                                                                                                                                                                       16          5.24    This paragraph cites and quotes the 1989 Guidance, which speaks for itself. NHA

                                                                                                                                                                       17   otherwise denies the allegations in this paragraph.

                                                                                                                                                                       18          5.25    This paragraph cites and quotes the 1989 Guidance, which speaks for itself. NHA

                                                                                                                                                                       19   otherwise denies the allegations in this paragraph.

                                                                                                                                                                       20          5.26    This paragraph cites and quotes the 1989 Guidance, which speaks for itself. NHA

                                                                                                                                                                       21   otherwise denies the allegations in this paragraph.

                                                                                                                                                                       22          5.27    Admitted that, in April 2010, EPA issued guidance called "Clean
                                                                                                                                                                                                                                                    “Clean Water Act

                                                                                                                                                                       23   Section 401 Water Quality Certification: A Water Quality Protection Tool for States and Tribes”
                                                                                                                                                                                                                                                                    Tribes"

                                                                                                                                                                       24   (“2010 Interim Guidance").
                                                                                                                                                                            ("2010         Guidance”). The text of the 2010 Interim Guidance speaks for itself. NHA

                                                                                                                                                                       25   otherwise denies the allegations in this paragraph.

                                                                                                                                                                       26          5.28    This paragraph cites and quotes the 2010 Interim Guidance, which speaks for

                                                                                                                                                                       27   itself. NHA otherwise denies the allegations in this paragraph.

                                                                                                                                                                       28          5.29    This paragraph cites and quotes the 2010 Interim Guidance, which speaks for
                                                                                                                                                                                                                             -6-                     Case No. 3:20-CV-04869-WHA
                                                                                                                                                                                                                INTERVENOR NHA'S
                                                                                                                                                                                                                           NHA’S ANSWER
                                                                                                                                                                            Case 3:20-cv-04869-WHA Document 75-2 Filed 09/04/20 Page 7 of 13



                                                                                                                                                                        1   itself. NHA otherwise denies the allegations in this paragraph.

                                                                                                                                                                        2             5.30   This paragraph cites and quotes the 2010 Interim Guidance, which speaks for

                                                                                                                                                                        3   itself. NHA otherwise denies the allegations in this paragraph.

                                                                                                                                                                       4              5.31   Admitted that Congress has not amended the language of Section 401. NHA lacks

                                                                                                                                                                        5   knowledge or information sufficient to form a belief about the truth of the remaining allegations

                                                                                                                                                                        6   in this paragraph, and therefore denies them.

                                                                                                                                                                        7                        Executive Order 13,868 And Section 401 Certifications

                                                                                                                                                                        8             5.32   Admitted that President Trump issued Executive Order 13,868 on April 10, 2019.

                                                                                                                                                                        9   The text of that Executive Order speaks for itself. NHA otherwise denies the allegations in this

                                                                                                                                                                       10   paragraph.
                             S AN DERS LLP
                    AM ILTON SANDERS   LLP




                                                                                                                                                                       11             5.33   This paragraph cites and quotes President Trump's
                                                                                                                                                                                                                                       Trump’s Executive Order 13,868, which
                                                                                                           S A N F R A N C I S C O , C A L I F O R N I A 94 111-4057
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                                                                                                                                                                       12   speaks for itself. NHA otherwise denies the allegations in this paragraph.
                  HAMILTON




                                                                                                                                                                       13             5.34   This paragraph cites President Trump’s
                                                                                                                                                                                                                            Trump's Executive Order 13,868, which speaks for
            EPPER H
          PEPPER




                                                                                                                                                                       14   itself.
T ROUTMAN P
TROUTMAN




                                                                                                                                                                       15             5.35   This paragraph cites and quotes President Trump's
                                                                                                                                                                                                                                       Trump’s Executive Order 13,868, which

                                                                                                                                                                       16   speaks for itself.

                                                                                                                                                                       17             5.36   Admitted that, on June 7, 2019, EPA issued guidance called "Clean
                                                                                                                                                                                                                                                        “Clean Water Act

                                                                                                                                                                       18   Section 401 Guidance for Federal Agencies, States, and Authorized Tribes"
                                                                                                                                                                                                                                              Tribes” with a stated purpose

                                                                                                                                                                       19   of facilitating implementation of Executive Order 13,868 ("2019
                                                                                                                                                                                                                                     (“2019 Guidance").
                                                                                                                                                                                                                                            Guidance”). The text of the

                                                                                                                                                                       20   2019 Guidance speaks for itself. NHA lacks knowledge or information sufficient to form a belief

                                                                                                                                                                       21   about the truth of the remaining allegations in this paragraph, and therefore denies them. NHA

                                                                                                                                                                       22   further answers that the Rule seeks to streamline regulatory processes and curb state overreach

                                                                                                                                                                       23   under the auspices of the Clean Water Act, thereby ensuring that state requirements on

                                                                                                                                                                       24   hydropower facilities are within the scope of congressional intent for Section 401.

                                                                                                                                                                       25             5.37   Admitted.

                                                                                                                                                                       26             5.38   Admitted that the EPA published an "Economic
                                                                                                                                                                                                                                “Economic Analysis for the Proposed Clean

                                                                                                                                                                       27   Water Act Section 401 Rulemaking"
                                                                                                                                                                                                  Rulemaking” ("Economic
                                                                                                                                                                                                              (“Economic Analysis").
                                                                                                                                                                                                                         Analysis”). The text of the Economic Analysis

                                                                                                                                                                       28   speaks for itself. NHA otherwise denies the allegations in this paragraph.
                                                                                                                                                                                                                             -7-                    Case No. 3:20-CV-04869-WHA
                                                                                                                                                                                                                INTERVENOR NHA'S
                                                                                                                                                                                                                           NHA’S ANSWER
                                                                                                                                                                            Case 3:20-cv-04869-WHA Document 75-2 Filed 09/04/20 Page 8 of 13



                                                                                                                                                                        1          5.39    This paragraph discusses the text of the Economic Analysis, which speaks for

                                                                                                                                                                        2   itself. NHA otherwise denies the allegations in this paragraph.

                                                                                                                                                                        3          5.40    Admitted that EPA held public hearings on the proposed Rule on September 5 and

                                                                                                                                                                       4    6, 2019, in Salt Lake City, Utah. NHA lacks knowledge or information sufficient to form a belief

                                                                                                                                                                        5   about the truth of the remaining allegations in this paragraph, and therefore denies them.

                                                                                                                                                                        6                                      The Final Section 401 Rule

                                                                                                                                                                        7          5.41    Admitted that the EPA released a press release on June 1, 2020. The text of the

                                                                                                                                                                        8   press release speaks for itself. NHA otherwise denies the allegations in this paragraph.

                                                                                                                                                                        9          5.42    Admitted.

                                                                                                                                                                       10          5.43    Denied. NHA further answers that the Rule is consistent with Section 401 and
                             S AN DERS LLP
                    AM ILTON SANDERS   LLP




                                                                                                                                                                       11   Supreme Court precedent, was lawfully issued, and will well serve the hydropower industry in
                                                                                                           S A N F R A N C I S C O , C A L I F O R N I A 94 111-4057
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                                                                                                                                                                       12   continuing to provide clean, renewable energy to American households and businesses.
                  HAMILTON




                                                                                                                                                                       13          5.44    This paragraph cites the Rule, which speaks for itself. NHA otherwise denies the
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          PEPPER




                                                                                                                                                                       14   allegations in this paragraph. NHA further answers that the Rule will bring clarity and
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                                                                                                                                                                       15   consistency to the complex web of regulatory regimes and extensive regulatory-approval process

                                                                                                                                                                       16   hydropower developments presently face.

                                                                                                                                                                       17   Limits on Scope of Section 401 Certification Review

                                                                                                                                                                       18          5.45    Denied. The Rule's
                                                                                                                                                                                                       Rule’s requirements speak for themselves, but NHA further denies

                                                                                                                                                                       19   that the Rule is in any way unlawful.

                                                                                                                                                                       20          5.46    This paragraph cites and quotes the Supreme Court's
                                                                                                                                                                                                                                       Court’s opinion in PUD No. 1, which

                                                                                                                                                                       21   speaks for itself. NHA otherwise denies the allegations in this paragraph.

                                                                                                                                                                       22          5.47    This paragraph cites a federal regulation and the Supreme Court's
                                                                                                                                                                                                                                                     Court’s opinions in

                                                                                                                                                                       23   PUD No. 1 and National Cable & Telecommunications Association v. Brand X
                                                                                                                                                                                                                                                   X Internet Services,

                                                                                                                                                                       24   545 U.S. 967 (2005), which speak for themselves. This paragraph also states legal conclusions,

                                                                                                                                                                       25   which require no response. To the extent any response is required, NHA denies the allegations.

                                                                                                                                                                       26          5.48    This paragraph cites and quotes the 1989 Guidance and the 2010 Interim

                                                                                                                                                                       27   Guidance, which speak for themselves. NHA otherwise denies the allegations in this paragraph.

                                                                                                                                                                       28
                                                                                                                                                                                                                             -8-                     Case No. 3:20-CV-04869-WHA
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                                                                                                                                                                        1   Limits on Appropriate Requirements of State Law

                                                                                                                                                                        2          5.49    This paragraph cites and quotes the Rule, which speaks for itself. NHA otherwise

                                                                                                                                                                        3   denies the allegations in this paragraph.

                                                                                                                                                                       4           5.50    NHA lacks knowledge or information sufficient to form a belief about the truth of

                                                                                                                                                                        5   the allegations in this paragraph, and therefore denies them.

                                                                                                                                                                        6          5.51    This paragraph cites and quotes the Rule and the 1989 Guidance, which speak for

                                                                                                                                                                        7   themselves. NHA otherwise denies the allegations in this paragraph.

                                                                                                                                                                        8          5.52    This paragraph cites and quotes the Rule and the 1989 Guidance, which speak for

                                                                                                                                                                        9   themselves. NHA otherwise denies the allegations in this paragraph.

                                                                                                                                                                       10          5.53    Denied.
                             S AN DERS LLP
                    AM ILTON SANDERS   LLP




                                                                                                                                                                       11   Restrictions on Certification Request Process
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                                                                                                                                                                       12          5.54    This paragraph states legal conclusions, which require no response. To the extent
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                                                                                                                                                                       13   any response is required, NHA denies the allegations.
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                                                                                                                                                                       14          5.55    This paragraph cites federal regulations and the Supreme Court's
                                                                                                                                                                                                                                                    Court’s opinion in PUD
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                                                                                                                                                                       15   No. 1, which speak for themselves. NHA otherwise denies the allegations in this paragraph.

                                                                                                                                                                       16          5.56    This paragraph cites and quotes the Rule, which speaks for itself. NHA otherwise

                                                                                                                                                                       17   denies the allegations in this paragraph.

                                                                                                                                                                       18          5.57    This paragraph cites and quotes the Rule, which speaks for itself.

                                                                                                                                                                       19          5.58    This paragraph cites and quotes the Rule, which speaks for itself. NHA further

                                                                                                                                                                       20   answers that this aspect of the Rule is plainly consistent with the text of Section 401, as the D.C.

                                                                                                                                                                       21   Circuit recently concluded. See Hoopa Valley
                                                                                                                                                                                                                  Valley Tribe v. FERC, 913 F.3d 1099 (D.C. Cir. 2019).

                                                                                                                                                                       22   NHA otherwise denies the allegations in this paragraph.

                                                                                                                                                                       23          5.59    This paragraph cites the Rule, which speaks for itself.

                                                                                                                                                                       24          5.60    Denied.

                                                                                                                                                                       25          5.61    Denied.

                                                                                                                                                                       26          5.62    NHA lacks knowledge or information sufficient to form a belief about the truth of

                                                                                                                                                                       27   the allegations in this paragraph, and therefore denies them.

                                                                                                                                                                       28
                                                                                                                                                                                                                              -9-                     Case No. 3:20-CV-04869-WHA
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                                                                                                                                                                        1                                  HARMS TO PLAINTIFF STATES

                                                                                                                                                                        2          6.1     NHA lacks knowledge or information sufficient to form a belief about the truth of

                                                                                                                                                                        3   the allegations in this paragraph, and therefore denies them.

                                                                                                                                                                       4           6.2     Admitted that the Plaintiff States’
                                                                                                                                                                                                                       States' respective jurisdictions encompass a substantial

                                                                                                                                                                        5   portion of the United States and that Plaintiff States’
                                                                                                                                                                                                                            States' jurisdictions include numerous, substantial

                                                                                                                                                                        6   water resources. NHA lacks knowledge or information sufficient to form a belief about the truth

                                                                                                                                                                        7   of the remaining allegations in this paragraph, and therefore denies them.

                                                                                                                                                                        8          6.3     This paragraph states legal conclusions, which require no response. But to the

                                                                                                                                                                        9   extent any response is required, NHA denies the allegations.

                                                                                                                                                                       10          6.4     This paragraph cites and quotes the Rule, which speaks for itself. NHA otherwise
                             S AN DERS LLP
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                                                                                                                                                                       11   denies the allegations in this paragraph.
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                                                                                                                                                                       12          6.5     NHA lacks knowledge or information sufficient to form a belief about the truth of
                  HAMILTON




                                                                                                                                                                       13   the allegations in this paragraph, and therefore denies them.
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                                                                                                                                                                       14          6.6     NHA lacks knowledge or information sufficient to form a belief about the truth of
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                                                                                                                                                                       15   the allegations in this paragraph, and therefore denies them.

                                                                                                                                                                       16          6.7     NHA lacks knowledge or information sufficient to form a belief about the truth of

                                                                                                                                                                       17   the allegations in this paragraph, and therefore denies them.

                                                                                                                                                                       18          6.8     NHA lacks knowledge or information sufficient to form a belief about the truth of

                                                                                                                                                                       19   the allegations about Plaintiff States’
                                                                                                                                                                                                            States' ownership of wildlife populations, and therefore denies

                                                                                                                                                                       20   them. NHA otherwise denies the allegations in this paragraph.

                                                                                                                                                                       21          6.9     Denied.

                                                                                                                                                                       22          6.10    NHA lacks knowledge or information sufficient to form a belief about the truth of

                                                                                                                                                                       23   the allegations in this paragraph, and therefore denies them.

                                                                                                                                                                       24          6.11    NHA lacks knowledge or information sufficient to form a belief about the truth of

                                                                                                                                                                       25   the allegations in this paragraph, and therefore denies them.

                                                                                                                                                                       26          6.12    NHA lacks knowledge or information sufficient to form a belief about the truth of

                                                                                                                                                                       27   the allegations in this paragraph, and therefore denies them.

                                                                                                                                                                       28          6.13    NHA lacks knowledge or information sufficient to form a belief about the truth of
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                                                                                                                                                                        1   the allegations in this paragraph, and therefore denies them.

                                                                                                                                                                        2          6.14    NHA lacks knowledge or information sufficient to form a belief about the truth of

                                                                                                                                                                        3   the allegations in this paragraph, and therefore denies them.

                                                                                                                                                                       4           6.15    Denied.

                                                                                                                                                                        5          6.16    NHA lacks knowledge or information sufficient to form a belief about the truth of

                                                                                                                                                                        6   the allegations in this paragraph, and therefore denies them.

                                                                                                                                                                        7          6.17    NHA lacks knowledge or information sufficient to form a belief about the truth of

                                                                                                                                                                        8   the allegations in this paragraph, and therefore denies them.

                                                                                                                                                                        9          6.18    Denied.

                                                                                                                                                                       10                                        CAUSES OF ACTION
                             S AN DERS LLP
                    AM ILTON SANDERS   LLP




                                                                                                                                                                       11                                   FIRST CAUSE OF ACTION
                                                                                                           S A N F R A N C I S C O , C A L I F O R N I A 94 111-4057
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                                                                                                                                                                                             Arbitrary and Capricious and Not in Accordance with Law
                                                                                                                                                                       12                  Unlawful Implementation of Section 401 of the Clean Water Act
                  HAMILTON




                                                                                                                                                                                                  in Violation of the Administrative Procedure Act
                                                                                                                                                                       13                                           (5 U.S.C. § 706)
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                                                                                                                                                                       14          7.1     NHA realleges its answers to paragraphs 1.1 through 6.18.
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                                                                                                                                                                       15          7.2     This paragraph cites and quotes a federal statute, which speaks for itself. NHA

                                                                                                                                                                       16   otherwise denies the allegations in this paragraph.

                                                                                                                                                                       17          7.3     This paragraph states legal conclusions, which require no response. To the extent

                                                                                                                                                                       18   any response is required, NHA denies the allegations.

                                                                                                                                                                       19          7.4     Denied.

                                                                                                                                                                       20          7.5     Denied.

                                                                                                                                                                       21                                  SECOND CAUSE OF ACTION
                                                                                                                                                                                             Arbitrary and Capricious and Not in Accordance with Law
                                                                                                                                                                       22                          Disregard of Prior Agency Policy and Practice
                                                                                                                                                                                                  in Violation of the Administrative Procedure Act
                                                                                                                                                                       23                                           (5 U.S.C. § 706)
                                                                                                                                                                       24          7.6     NHA realleges its answers to paragraphs 1.1 through 6.18.

                                                                                                                                                                       25          7.7     This paragraph states legal conclusions, which require no response. To the extent

                                                                                                                                                                       26   any response is required, NHA denies the allegations.

                                                                                                                                                                       27          7.8     This paragraph states legal conclusions, which require no response. To the extent

                                                                                                                                                                       28
                                                                                                                                                                                                                             -11-                  Case No. 3:20-CV-04869-WHA
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                                                                                                                                                                        1   any response is required, NHA denies the allegations.

                                                                                                                                                                        2          7.9      Denied.

                                                                                                                                                                        3          7.10     Denied.

                                                                                                                                                                       4           7.11     Denied.

                                                                                                                                                                        5          7.12     Denied.

                                                                                                                                                                        6                                     THIRD CAUSE OF ACTION
                                                                                                                                                                                               Arbitrary and Capricious and Not in Accordance with Law
                                                                                                                                                                        7                Failure to Consider Statutory Objective and Impacts on Water Quality
                                                                                                                                                                                                    in Violation of the Administrative Procedure Act
                                                                                                                                                                        8                                             (5 U.S.C. § 706)
                                                                                                                                                                        9          7.13     NHA realleges its answers to paragraphs 1.1 through 6.18.

                                                                                                                                                                       10          7.14     This paragraph states legal conclusions, which require no response. To the extent
                             S AN DERS LLP
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                                                                                                                                                                       11   any response is required, NHA denies the allegations.
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                                                                                                                                                                       12          7.15     This paragraph states legal conclusions, which require no response. To the extent
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                                                                                                                                                                       13   any response is required, NHA denies the allegations.
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                                                                                                                                                                       14          7.16     This paragraph states legal conclusions, which require no response. To the extent
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                                                                                                                                                                       15   any response is required, NHA denies the allegations.

                                                                                                                                                                       16          7.17     This paragraph states legal conclusions, which require no response. To the extent

                                                                                                                                                                       17   any response is required, NHA denies the allegations.

                                                                                                                                                                       18          7.18     Denied

                                                                                                                                                                       19          7.19     Denied.

                                                                                                                                                                       20                                   FOURTH CAUSE OF ACTION
                                                                                                                                                                                                         Agency Action in Excess of Jurisdiction
                                                                                                                                                                       21                                           (5 U.S.C. § 706)
                                                                                                                                                                       22          7.20     NHA realleges its answers to paragraphs 1.1 through 6.18.

                                                                                                                                                                       23          7.21     This paragraph cites and quotes a federal statute, which speaks for itself. NHA

                                                                                                                                                                       24   otherwise denies the allegations in this paragraph.

                                                                                                                                                                       25          7.22     This paragraph cites and quotes a federal statute, which speaks for itself. Admitted

                                                                                                                                                                       26   that the EPA cited, among other things, Sections 401 and 501 of the Act as authority for the Rule.

                                                                                                                                                                       27   NHA otherwise denies the allegations in this paragraph.

                                                                                                                                                                       28          7.23     Denied.
                                                                                                                                                                                                                             -12-                    Case No. 3:20-CV-04869-WHA
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                                                                                                                                                                        1           7.24   This paragraph cites and quotes a federal statute, which speaks for itself. NHA

                                                                                                                                                                        2   otherwise denies the allegations in this paragraph.

                                                                                                                                                                        3           7.25   Denied.

                                                                                                                                                                       4                                           RELIEF REQUESTED

                                                                                                                                                                        5           NHA denies that Plaintiffs are entitled to any relief, including the relief requested.

                                                                                                                                                                        6   Therefore, NHA respectfully requests that this Court enter judgment against Plaintiffs, as well as

                                                                                                                                                                        7   granting Defendants and Intervenor-NHA all other and further relief the Court deems just,

                                                                                                                                                                        8   including costs and attorneys'
                                                                                                                                                                                                attorneys’ fees.

                                                                                                                                                                        9                                      AFFIRMATIVE DEFENSES

                                                                                                                                                                       10           NHA asserts the following affirmative defenses under Federal Rule of Civil Procedure
                             S AN DERS LLP
                    AM ILTON SANDERS   LLP




                                                                                                                                                                       11   8(c):
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                                                                                                                                                                       12           1.     The allegations in Plaintiffs'
                                                                                                                                                                                                              Plaintiffs’ Complaint fail to state a claim upon which relief may
                  HAMILTON




                                                                                                                                                                       13   be granted, including the requirement for extraordinary equitable relief, because the EPA
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                                                                                                                                                                       14   complied with all requirements under the Administrative Procedure Act and all other federal laws
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                                                                                                                                                                       15   in issuing the Rule.

                                                                                                                                                                       16           2.     NHA reserves the right to assert additional defenses.

                                                                                                                                                                       17

                                                                                                                                                                       18                                           Respectfully submitted,

                                                                                                                                                                       19
                                                                                                                                                                                                                    TROUTMAN PEPPER HAMILTON
                                                                                                                                                                       20                                           SANDERS LLP
                                                                                                                                                                       21
                                                                                                                                                                                                                    By: /s/ Elizabeth Holt Andrews
                                                                                                                                                                       22                                               Elizabeth Holt Andrews
                                                                                                                                                                                                                        Misha Tseytlin (pro hac vice pending)
                                                                                                                                                                       23                                               Charles Sensiba (pro hac vice pending)
                                                                                                                                                                                                                        Andrea W. Wortzel (pro hac vice pending)
                                                                                                                                                                       24                                               Sean T.H. Dutton (pro hac vice pending)

                                                                                                                                                                       25                                                     for Proposed Intervenor
                                                                                                                                                                                                                    Attorneysfor
                                                                                                                                                                                                                                                 ASSOCIATION
                                                                                                                                                                                                                    NATIONAL HYDROPOWER ASSOCIATION
                                                                                                                                                                       26

                                                                                                                                                                       27

                                                                                                                                                                       28
                                                                                                                                                                                                                              -13-                     Case No. 3:20-CV-04869-WHA
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